AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 21-889M(NJ)
      Location Information for Three Instagram                              )
                     Accounts                                               )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before             June 28, 2021               (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to              Nancy Joseph, U.S. Magistrate Judge            .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying,
                                                                    ying,
                                                                       g,, tthe
                                                                       g     he later specific date ooff
                                                                             he                                                        .


Date and time issued:          June 14, 2021 @ 3:00 p.m.
                                                                                                          JJudge’s
                                                                                                           Ju dge’s si
                                                                                                                    ssignature
                                                                                                                      ignature

City and state: Milwaukee, Wisconsin                                                  Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                                                        Printed name and title
                             Case 2:21-mj-00889-NJ Filed 06/14/21 Page 1 of 46 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                   ATTACHMENT A

                                 Property to Be Searched

      This warrant applies to information associated with the following Instagram accounts,

that is stored at premises owned, maintained, controlled, or operated by Facebook, Inc., a

company headquartered at 1601 Willow Road, Menlo Park, California:

   (1) Instagram account under the name “bigboomsologang”, Instagram ID # 32787502970,

      https://www.instagram.com/bigboomsologang/

   (2) Instagram account under the name        “_teshae”, Instagram ID # 25863395891;

      https://www.instagram.com/_teshae/

   (3) Instagram account under the name “shawn_broke2rich”; Instagram ID# 7068849355;

      https://www.instagram.com/shawn_broke2rich/.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

  I.   Information to be disclosed by Instagram, whose parent company is Facebook, Inc.

       (the “Provider”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook Inc., Facebook Inc. is required to disclose the following

information to the government, for the Accounts listed in Attachment A, all physical location

data collected by Facebook Inc. for the user of the account, including any data collected by

Facebook Inc.’s location services via the user’s mobile phone or other device, on a real-time or

near-real time basis. Facebook Inc. is required to provide any such data they collect, regardless

of the time of day.

 II.   Information to be seized by the government

       All data disclosed by the Provider pursuant to this warrant. This data shall be made

accessible by the Provider to the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)

on a continuous basis, day or night, and/or emailed to Special Agent Richard E. Connors at

Richard.ConnorsIII@atf.gov.

III.   Time for production by provider

       The Provider shall begin producing the information required by this warrant within 7

days of the date of service of the warrant.

IV.    Duration of production

       The Provider shall produce the information required by this attachment for a period of 30

days from the date of issuance of this warrant unless notified sooner to cease.




                                         41
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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.
    Location Information for Three Instagram                                 )              0 1-
                                                                             )
                   Accounts                                                  )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A.

located in the                                    District of                                            , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. 371, 922(g)(1), and             conspiracy to violate the laws of the United States, unlawful possession of a
        922(o).                                   firearm by a prohibited person, and unlawful possession of a machinegun

          The application is based on these facts:
        See the attached affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                                  Digitally signed by RICHARD CONNORS
                                                                              RICHARD CONNORS                     Date: 2021.06.14 14:32:25 -05'00'
                                                                                                      Applicant’s signature

                                                                                            Richard E. Connors, Special Agent (ATF)
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements
                                                            ments of Fed. R. Crim. P. 44.1      ..1
                                                                                                  1 by
                      telephone                       (specify
                                                           ify
                                                            fyy rreliable
                                                                  eliablle elec    o ic means).
                                                                           electronic
                                                                              cttrron


Date:            06/14/2021
                                                                                                         Judge’s
                                                                                                         Ju
                                                                                                          udge’s signature

City and state: Milwaukee, Wisconsin                                                 Honorable Nancy Joseph, U.S. Magistrate Judge
                                                                       Printed name and title
                        Case 2:21-mj-00889-NJ Filed 06/14/21 Page 5 of 46    Document 1
                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Richard E. Connors, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with certain Instagram accounts (“Target Accounts”) that are stored at

premises owned, maintained, controlled, or operated by Facebook Inc. (“Facebook”), an

electronic communications service and/or remote computing service provider headquartered at

1601 Willow Road in Menlo Park, California. This affidavit is made in support of an application

for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require

Facebook to disclose to the government records and other information in its possession,

pertaining to the subscriber or customer associated with the user ID. The Target Accounts are

described herein and in Attachment A, and the location information to be seized is described

herein and in Attachment B. I am seeking real-time location information for the Target Accounts

from Facebook, Inc.

       2.      I am employed as a Special Agent with the United States Department of Justice,

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) assigned to the Milwaukee Field

Office since October 2015. I have been employed as a full-time law enforcement officer for

approximately five years. I have received training at the Federal Law Enforcement Training

Center in Glynco, Georgia. I attended the Criminal Investigator Training Program, as well as the

ATF’s Special Agent Training Program. I have received training in the investigation of unlawful

possession of firearms, unlawful transfer of firearms, and unlawful dealing in firearms without a

license. Prior to becoming a Special Agent with the ATF, I received two bachelor’s degrees from

Northern Illinois University in the fields of Sociology and International Relations. I have



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received a master’s degree from Northern Illinois University in the field of American

Government.

       3.      I have received training in the investigation of firearm and drug trafficking. Based

on my training, experience, and participation in firearm trafficking investigations, I know or have

observed the following:

               a.     I have utilized informants to investigate firearm and drug trafficking.

                      Through informant interviews and debriefings of individuals involved in

                      those offenses, I have learned about the manner in which individuals and

                      organizations distribute these items in Wisconsin and elsewhere;

               b.     I have also relied on informants to obtain firearms (as opposed to licensed

                      gun dealers) and controlled substances from individuals, known as a

                      controlled purchase;

               c.     I have experience conducting street surveillance of individuals engaged in

                      firearm and drug trafficking. I have participated in the execution of

                      numerous search warrants where drugs, firearms, ammunition, and

                      magazines have been seized;

               d.     I am familiar with the language utilized over the telephone to discuss

                      firearm and drug trafficking, and know that the language is often limited,

                      guarded, and coded;

               e.     I know that firearm and drug traffickers often use electronic equipment to

                      conduct these operations; and

               f.     I know that firearm and drug traffickers often use proceeds to purchase

                      assets such as vehicles, property, jewelry, and narcotics. I also know that




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                      firearm and drug traffickers often use nominees to purchase or title these

                      assets to avoid scrutiny from law enforcement officials. I also know that

                      firearm and drug traffickers may keep photographs of these items on

                      electronic devices.

       4.      I have participated in multiple firearm and drug trafficking investigations that

involved the seizure of computers, cellular phones, cameras, and other digital storage devices,

and the subsequent analysis of electronic data stored within these devices. On many occasions,

this electronic data has provided evidence of the crimes being investigated and corroborated

information already known or suspected by law enforcement.

       5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other investigators and witnesses. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and

does not set forth all of my knowledge about this matter.

       6.      Based on the facts as set forth in this affidavit, there is probable cause to believe

that violations of 18 U.S.C. § 371 (conspiracy to violate the laws of the United States), 18 U.S.C.

§ 922(g)(1) (unlawful possession of a firearm by a prohibited person), and 18 U.S.C. § 922(o)

(unlawful possession of a machinegun) have been committed, are being committed, and will be

committed by Larry G. HAMILTON (DOB: 07/22/1991), Teshae HANNA (DOB: 09/23/1999),

and Quishawn HANNA (DOB: 10/10/2000) among others. There is also probable cause to

believe that the location information described in Attachment B will constitute evidence of these

criminal violations, and will lead to the identification of individuals who are engaged in the

commission of these offenses.




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                           TARGET ACCOUNTS TO BE LOCATED

   x   Instagram account under the name “bigboomsologang”, Instagram ID 32787502970,

       https://www.instagram.com/bigboomsologang/

   x   Instagram account under the name “_teshae”, Instagram ID 25863395891;

       https://www.instagram.com/_teshae/

   x   Instagram account under the name “shawn_broke2rich”; Instagram ID 7068849355;

       https://www.instagram.com/shawn_broke2rich/

                                         JURISDICTION

       7.        The court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court

of the United States that has jurisdiction over the offense being investigated, see 18 U.S.C. §

2711(3)(A)(i).

                                          PROBABALE CAUSE

       8.        Since February 2021, the Bureau of Alcohol, Tobacco, Firearms and Explosives

(ATF), Milwaukee Police Department (MPD), Federal Bureau of Investigation (FBI), and Drug

Enforcement Administration (DEA) have been investigating members of the Wild 100’s, a

violent street gang in Milwaukee, also known as the Shark Gang, including Larry G.

HAMILTON, Teshae HANNA, and Quishawn HANNA.

       9.        In the summer of 2020, the Wild 100’s and Ghetto Boys Clique (GBC), another

violent street gang in Milwaukee, also known as the Swindle Gang, were engaged in a bloody

feud. Since July 2020, case agents have identified at least 20 separate incidents of firearms

offenses and crimes of violence tied to the Wild 100’s and GBC. I have provided a summary of




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the relevant incidents below based upon a review of police reports, information provided by

confidential sources, and a review of publicly available social media posts.

       10.     On January 26, 2019, a shooting occurred in the area of 2461 North 33rd Street,

Milwaukee, Wisconsin, resulting in the death of Lawrence “Lowski” Hamilton, a known

member of the Wild 100’s, and multiple gunshot wounds to his brother Larry G. Hamilton

(DOB: 07/22/1991). Sometime after the funeral, the grave of Lawrence Hamilton was desecrated

by members of the GBC. Based on my training and experience, I know that desecrating a grave

or memorial is a common way to disrespect a rival gang member and the gang itself. In a later

shooting incident, Ramon Savage, another Wild 100’s member, told officers of the Milwaukee

Police Department that the desecration of Lawrence Hamilton’s grave and memorial ignited the

bloody feud between the Wild 100’s and GBC.

       11.     On July 23, 2020, officers of the Milwaukee Police Department responded to

numerous shots fired near a playground at Maple Tree Elementary School, located at 6644 North

107th Street, Milwaukee, Wisconsin. Officers recovered 123 casings on scene in various calibers.

This appeared to be celebratory gunfire, because no one was injured and several individuals,

including Wild 100’s members, were suspected of discharging firearms into the air. Quishawn

M. Hanna (DOB: 10/10/2000) was interviewed on scene by officers. Quishawn Hanna told

officers that people were there to celebrate the anniversary of Lawrence Hamilton’s death, and

people started shooting. This appears to actually have been on or about the birthday of Larry G.

Hamilton.

       12.     On September 30, 2020, officers of the Milwaukee Police Department responded

to a shooting at the funeral of Braxton Taylor, a GBC member. Seven victims suffered gunshot

wounds. Witnesses said that members of the Wild 100’s were posting to social media around the




          Case 2:21-mj-00889-NJ Filed 06/14/21 Page 10 of 46 Document 1
time of the funeral, suggesting that they may have been involved in the shooting. Later that day

there were two other shootings, one at Braxton Taylor’s memorial near 21st Street and Center

Street, where a woman suffered a gunshot wound to the head, and the other where Quimain E.

Townsend (DOB: 03/13/1991) and Ramon Savage (DOB: 06/13/1995), Wild 100’s members,

suffered gunshot wounds. Wild 100’s members are suspects in the funeral home shooting, and

GBC members are suspects in the shooting at Braxton Taylor’s memorial and the shootings of

Townsend and Savage.

       13.     In March 2021, case agents obtained law enforcement reports about Teshae

Hanna’s prior arrests, which revealed that he was arrested on an outstanding bench warrant on

November 24, 2020, which led to the recovery of heroin, cocaine, and a firearm. On November

18, 2020, the Dane County Sheriff’s Department entered a bench warrant for the arrest of Teshae

Hanna for failing to appear for Dane County Case No. 2020CF000928, which charges Teshae

Hanna with committing an armed robbery. On November 24, 2020, law enforcement officers

assigned to the Milwaukee Police Department’s SID and Tactical Enforcement Unit (TEU)

responded to the address of 1109 North 18th Street, Apartment No. 910, Milwaukee, Wisconsin

to locate Teshae Hanna.

       14.     During the investigation, law enforcement officers contacted the lessee of the

apartment at the front door. While standing at the front door of Apartment No. 910, law

enforcement officers observed Teshae Hanna standing in the bedroom wearing only underwear

and attempting to get dressed. Law enforcement officers then entered the apartment and arrested

Teshae Hanna. During the arrest and while in the bedroom, Teshae Hanna asked the officers to

grab his jacket, shoes, money, and three cellular phones.




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       15.     Police Officer Jose Viera spoke to the lessee of the Apartment No. 910, and the

lessee provided law enforcement officers with consent to search the apartment. During the

search, law enforcement officers located a clear plastic bag which contained suspected heroin

and a plastic bag which contained suspected cocaine on the floor in the bedroom. Officers also

located a silver-over-black Kahr Model CW40 .40 caliber semi-automatic handgun bearing serial

number FF1315 underneath the mattress in the same bedroom. An officer later performed a field

test on the suspected heroin, which tested positive for opiates and fentanyl for a total weight of

1.0 gram, and a field test on the suspected cocaine, which tested positive for cocaine with a total

weight of 3.0 grams. Based upon training, experience, and the investigation to date, including the

weight of the cocaine base and the lack of instruments used to ingest it, case agents believe that

the cocaine base recovered from the bedroom where Teshae Hanna was arrested was for street-

level distribution and not personal use.

       16.     Officers also located a white Apple iPhone on the floor in the same bedroom. I am

aware that the bedroom where the suspected drugs, firearm, and white Apple iPhone were

located in was the same as the bedroom in which Teshae Hanna was arrested and where his

clothing, money, and three cellular phones were located.

       17.     On November 28, 2020, Teshae Hanna was charged in Milwaukee County Case

Number 2020CF004203 with possession of a firearm after being adjudicated delinquent, bail

jumping, possession with intent to distribute cocaine, and possession of narcotic drugs.

       18.     On March 14, 2021, I received a screenshot of the Instagram profile “_teshae”

(Instagram ID 25863395891, https://www.instagram.com/_teshae) from the publicly viewable

content on that day. An Instagram story is a short clip a user can post to his or her page, which is

then removed after a given amount of time. The Instagram page has a URL of




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https://www.instagram.com/_teshae/. This page appears to belong to Teshae K. Hanna (DOB:

09/23/1999), in that case agents compared the photos from the publicly viewable content for

“_teshae” to a booking photo of Teshae Hanna, and the two appear consistent.

       19.     The screenshot taken on March 14, 2021 from the “_teshae” Instagram page

depicted eight firearms lying on a wood floor. Three of the firearms appear to be Glock

handguns with conversion devices affixed to the back plate of the handgun. These conversion

devices convert a semi-automatic firearm into a fully-automatic firearm, allowing the firearm to

fire multiple rounds of ammunition with a single pull of the trigger, consistent with definition of

a “machinegun” as defined in 18 U.S.C. § 921(a)(23) and 26 U.S.C. § 5845(b).




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       20.     On March 15, 2021, officers of the Milwaukee Police Department on routine

patrol observed Teshae Hanna run from a stopped black Toyota RAV4, while holding a black

Glock pistol, toward the McDonalds located at 7112 North 76th Street, Milwaukee, Wisconsin.

When Teshae Hanna returned to the vehicle, he did not appear to have a firearm. Officers then

located Raymond J. Colon (DOB: 05/17/2000), who was dead, in the front seat of the black

Toyota RAV4.




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       21.    Officers recovered a Glock pistol bearing serial number XMW834 with an

attached conversion device, which converts the firearm from semi-automatic to fully-automatic,

from the trashcan.

       22.    During an interview with officers, Teshae Hanna said that they had been shot at

by people in a vehicle, who had been following them. Teshae Hanna was injured in this shooting.

Officers obtained surveillance video from the McDonalds, which showed Teshae Hanna discard

the Glock pistol bearing serial number XMW834 in a trashcan outside of the McDonalds.

       23.    On March 18, 2021, case agents obtained a photograph of the Glock pistol

bearing serial number XMW834 with the attached conversion device, which had been recovered

from the McDonalds trashcan on March 15, 2021. The Glock pistol with the conversion device is

consistent with the Glock handguns with conversion devices posted to the Instagram account

“_teshae” on March 14, 2021. A photograph of the Glock handgun with the conversion device

recovered on March 15, 2021 is provided below.




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       24.     On March 16, 2021, Officer Michael Fasulo of the Milwaukee Police Department

test fired the Glock pistol bearing serial number XMW834 with the attached conversion device.

Officer Fasulo observed the conversion device attached to the rear back plate of the firearm,

consistent with a machinegun. Officer Fasulo loaded two unfired cartridges into the firearm and

conducted a single pull of the trigger. Both cartridges discharged with the single pull of the

trigger—in accordance with the definition of a “machinegun” as defined in 18 U.S.C. §

921(a)(23) and 26 U.S.C. § 5845(b).

       25.     Another video from story of Instagram profile “_teshae” depicts a two-tone silver-

and-black handgun with a light and a green laser beam affixed to the firearm. Teshae Hanna

posted a photo to this Instagram story stating: “I took a head shot so my opps got to receive the

same treatment it’s only right (100 emoji; hand emoji).” The next post states:

“@shelovesraymond when these niggas die beat they ass up there (gorilla emoji).” I know from

debriefs of informants and viewing social media posts that the term “opps” refers to the

opposition or the rival gang. Members of both the Wild 100’s and GBC use the term “opps” to

refer to rivals. The 100 emoji refers to the Wild 100’s.




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       26.     The next video in the series depicts a person, who appears to be Teshae Hanna,

pointing the above-described firearm at houses which I believe are in Milwaukee, because

Teshae Hanna’s posts in prior videos in the story refer to locations in Milwaukee and the

resemblance of the homes to those on the north and south side of Milwaukee. In the video, a

green laser is hitting the siding of the houses. A screen shot from the video is posted below.




       27.     The following video has the caption “@shelovesraymond I shed tears bout u

lilbro (crying emoji) I’ll do 100+ Nbs cause I know u a do the same.” Based on my training and

experience, I believe that Hanna was referring to his willingness to serve 100 years in prison for

retribution for Colon’s death.

       28.     At approximately 1:07 a.m. on March 24, 2021, Hanna posted a video on the

Instagram profile “_teshae” depicting himself near the ATM at the U.S Bank located at 7500

Good Hope Road, Milwaukee, Wisconsin 53223. In the video, Hanna proceeds to remove a debit

card with the sticker still intact from the ATM. Hanna says in substance: “We on 76 getting a




          Case 2:21-mj-00889-NJ Filed 06/14/21 Page 17 of 46 Document 1
thousand right now.” The next video in the story has the caption “4K(money emoji).” The person

in the video begins to fan out a large amount of United States currency.




       29.     The next video in the sequence has the caption: “Just spent 3K on guns (flex

emoji) 1:59AM.” Teshae Hanna proceeds to drop multiple denominations of U.S. currency onto

the suspected firearms. I observed what appeared to be three separate handguns and one

suspected AR-15 style rifle in the video. Based on the videos observed, Hanna appeared to

obtain money from an unknown debit account for the purpose of acquiring firearms.




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       30.    The last video in the sequence displays an unknown white male leaning into the

passenger-side window of the vehicle Teshae Hanna is occupying. The caption on the video is

“bammin.”




       31.    On March 30, 2021, I observed a post on the story of the Instagram profile

“_teshae” stating: “@shelovesraymond we got shot cause we was really n these streets fish bowl

(eye ball emoji) y’all niggas scary asab I wonder how long y’all think y’all can hide (crying




         Case 2:21-mj-00889-NJ Filed 06/14/21 Page 19 of 46 Document 1
emoji).” In the following post, Hanna states: “or yall gone drop location (pin drop emoji; eye ball

emoji).” The final post says: “I’m waiting on a shoot out or some I’m bored asab

@shelovesraymond.”




       32.     On April 12, 2021, Special Agent Ryan Arnold received U.S. Bank records of

surveillance video from the ATM located at 7500 West Good Hope Road, Milwaukee,

Wisconsin 53223. The video shows Teshae Hanna accessing the ATM and removing United

States currency. It appears this is the same transaction Hanna posted about on his Instagram

account. This transaction contains the timestamp of March 24, 2021 at 1:06 a.m.



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       33.     On April 6, 2021, I observed the Instagram profile “_teshae” was going “live.” A

“live” video displays the user in real-time and individuals can join the conversation and comment

or join the “live” video and also appear in real-time. This video was observed publicly, and I was

able to view it by just having an Instagram profile. The other account which joined “_teshae”

was    the    Instagram    profile    “shawn_broke2rich”;      Instagram     ID#    7068849355;

https://www.instagram.com/shawn_broke2rich/. I am aware that the Instagram profile

“shawn_broke2rich” is used by Quishawn Hanna. Case agents compared the photos from the

publicly viewable content for Instagram profile “shawn_broke2rich” to a booking photo of

Quishawn Hanna, and the two appear consistent.

       34.     In the live video posted on April 6, 2021 at approximately 1:56 p.m., I observed

Teshae Hanna and Quishawn Hanna talking. Quishawn Hanna says: “I aint gonna show the

switches on the live though I ain’t gone lie.” Based upon training, experience, and the

investigation to date, case agents are aware that the term “switch” refers to a conversion device

for a firearm, which converts the firearm from semi-automatic to fully-automatic. These

conversion devices in themselves are classified as “machineguns” as defined in 18 U.S.C. §




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921(a)(23) and 26 U.S.C. § 5845(b). Quishawn Hanna appears to know that a person cannot

possess a “machinegun” without meeting the registration requirements of the National Firearms

Act.

       35.    Quishawn Hanna then displayed what appeared to be multiple firearms

throughout the video, including a handgun and an AR-15 style rifle with a drum magazine

capable of holding over 50 rounds of ammunition. Teshae Hanna displayed two handguns and

pointed them directly at the camera numerous times. At approximately 1:01 in the video, Teshae

Hanna states: “Niggas shot me in my head and killed my nigga Ray. That shit was just too funny,

my nigga. Now the whole 40th grieving all because lil Keyon wanna talk shit bitch.” I believe

that Teshae Hanna is referring to the homicide and shooting that occurred on March 15, 2021.

       36.    At approximately 3:00 in the video, Teshae Hanna states: “You see this weak ass

gun before Quishawn Sig Sauer,” Teshae Hanna then displayed what appeared to be a Sig Sauer

handgun. Quishawn Hanna states: “That motherfucker weak. We only do Glizzy’s only.” Based

on my training and experience, I know that the street term “Glizzy” refers to a Glock firearm.

Teshae Hanna proceeded to display what appeared to be a Springfield XD handgun and stated:

“What about this? You don’t fuck with the XD.” Quishawn Hanna replies: “I’m the one that

gave you that.” At approximately 3:50 in the video, Quishawn Hanna displays what appeared to

be a Glock handgun with his hand covering the backplate of the firearm, this is the part of the

firearm where individuals affix the conversion device to convert the firearm to a fully-automatic

firearm. Quishawn Hanna states: “I aint gone show that.” Teshae Hanna replies: “Yea, yea, get

that off the camera.” Quishawn Hanna states: “You show the back man motherfucker prolly go

federal,” and Teshae Hanna replies: “yeah the feds be knocking on yo door lil bro.” Below is a




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screenshot of Quishawn Hanna holding the Glock pistol with his hand covering where a

conversion device ear would be affixed to the firearm.




       37.    Based upon Teshae Hanna and Quishawn Hanna’s comments regarding not

showing the portion of the firearm where a conversion device would be affixed and the

comments regarding “going federal,” I believe that Teshae Hanna and Quishawn Hanna are

aware that possession of unregistered fully-automatic firearms are illegal. Case agents have also

recovered fully-automatic Glock handguns from other Wild 100’s members in the past.

       38.    At approximately 5:18 in the video, Teshae Hanna states: “Now I’m doing the

same thing to them, nigga. Go have that funeral, lil bitch. Fuck you talking about fuck you mean

nigga now nobody play with motherfuckin Teshae, nigga, or team Wild hunnits, nigga. We really

where it’s at. We got money, grave diggers. We got a lot of more money than the other niggas,

and we grave diggers, and we get down that’s the thing about our hood, nigga. We ain’t to be

played with nigga.”




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       39.    In March 2021, case agents located an Instagram account under the name

“bigboomsologang,”                  Instagram                 ID                 32787502970,

https://www.instagram.com/bigboomsologang/. Case agents obtained and compared a booking

photograph of Larry G. HAMILTON (DOB: 07/22/1991) to the photos on the publicly viewable

part of the aforementioned Instagram page. Case agents believe based upon a review of the

photographs, including “selfies,” of the person using the “bigboomsologang” Instagram page and

HAMILTON’s booking photo that HAMILTON, an identified member of Wild 100’s, is the user

of the Instagram profile “bigboomsologang.”

       40.    According to publicly available court records, HAMILTON has a prior felony

conviction for burglary in Milwaukee County Case No. 2010CF005453 and a prior felony

conviction for burglary in Milwaukee County Case No. 2011CF002979. HAMILTON also has a

prior felony conviction for unlawful possession of a firearm by a prohibited person in Case No.

14-CR-169 (E.D. Wis.).

       41.    On April 1, 2021, case agents reviewed the below post that was posted to the

publicly viewable portion of the Instagram profile “bigboomsologang” dated August 3, 2020,

which depicts HAMILTON holding an AR-style pistol.




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       42.        On April 1, 2021, case agents also viewed the below post that was posted to the

publicly viewable portion of the Instagram profile “bigboomsologang” dated September 8, 2020,

which showed HAMILTON holding an apparent AR-style rifle with a similar sight as the photo

directly above.




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       43.     On April 1, 2021, case agents also reviewed the below post that was posted to the

publicly viewable portion of the Instagram profile “bigboomsologang” dated September 17,

2020, which depicts HAMILTON with an AR-15-style rifle slung from his neck.




       44.     On April 9, 2021, this Court issued a warrant for historical records and

information for the Target Accounts in Case No. 21-MJ-084. Case agents have begun reviewing

those materials. However, one of the warrant returns for the Target Accounts contained

approximately 69,000 pages of records and information.

       45.     Case agents identified the following records of note on HAMILTON’s Instagram

profile. On January 18, 2021, HAMILTON’s Instagram profile and Teshae HANNA’s Instagram

profile “_teshae” had the following conversation, after which the two profiles exchanged “live

calls” not captured in Instagram warrant returns:

       January 18, 2021: _teshae: Who got heat for sell



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       January 24, 2021: Bigboomsologang: Yo this one ready.

I am aware that “heat” is a terminology for a firearm, and the conversation is indicative of

firearm trafficking.

       46.     On January 11, 2021, HAMILTON’s Instagram profile communicated with the

Instagram profile “goldhuncho,” the known profile for Chazz D. WHITE (DOB: 11/14/1990),

another member of the Wild 100’s. In that conversation, the two discuss Maurice RITTMAN

(DOB: 03/06/1993) getting his “dreak caught up.” I know that “drake” is terminology for an AK-

47 style pistol. The two refer to RITTMAN using his alias “Foe block.”




I am aware that on December 18, 2020, officers of the Milwaukee Police Department recovered

an AK-47 style pistol from a vehicle that RITTMAN was driving.




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       47.     On September 20, 2020, HAMILTON’s Instagram profile and Instagram profile

“youngbboss2” discussed the sale and trade of firearms in the post below:




I am aware that the term “hand heat” refers to a handgun and the term “Chopp” can refer to an

AK or AR-style rifle. On September 19, 2020, a photo was posted of HAMILTON holding a

suspected AR-15 style rifle:




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Another photo was posted on September 17, 2020 and depicts HAMILTON in possession of a

suspected AR-15 style rifle.




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The photograph below was posted on September 10, 2020 and depicts HAMILTON with a

suspected drum magazine protruding from his front pocket.




       48.           On August 28, 2020, the following photo was posted to HAMILTON’s


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Instagram story.




It should be noted that an emoji with the mouth zipped shut is covering the backplate of a

suspected Glock handgun. I am aware that several Wild 100’s members have been caught with

Glock handguns with a conversion device attached to convert semi-automatic firearms into fully-

automatic firearms. Those conversion devices are commonly attached in the area covered by the

emoji.

         49.   On August 4, 2020, a photo was posted of HAMILTON holding what appears to

be a suspected AR-15 style rifle.




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       50.    In     the   warrant   return   for   Quishawn   HANNA’s       Instagram   profile

“shawn_broke2rich,” case agents identified multiple conversations about Glock switches,

conversion devices to convert a semi-automatic firearm into a fully-automatic firearm.

       51.    On September 18, 2020, an Instagram user communicates with Quishawn

HANNA’s Instagram profile “shawn_broke2rich” asking about acquiring a Glock auto

conversion device. Instagram profile “shawn_broke2rich” references an individual nicknamed

“Meechi,” who investigators believe refers to Demetrius EXUM (DOB: 02/14/2001), a member

of the Wild 100’s.




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Quishawn HANNA’s Instagram profile “shawn_broke2rich” discusses coordinating a transfer of

a “switch,” referring to a Glock conversion device, between the Instagram user and “Meechi.”

          52.   On February 19, 2021, the below conversation occurs where an Instagram account

user asks the Instagram profile “shawn_broke2rich” about purchasing a Glock auto conversion

device.




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      53.    On March 6, 2021, the below conversation takes place between the page for

Quishawn HANNA’s Instagram profile “shawn_broke2rich” and an account with the name

“forevalicereecekidd.” The account asks Quishawn HANNA for a “switch.”




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       54.        On March 7, 2021, the profile for Teshae HANNA (_teshae) asks the profile for

Quishawn HANNA (shawn_broke2rich) to “Bring me the choppa,” a street term for an AR or

AK-style rifle.




       55.        On March 17, 2021, Quishawn HANNA’s Instagram profile “shawn_broke2rich”

asks the Instagram profile “officialliberianpekin” if the individual has a Glock auto conversion

device for sale.




       56.        On March 29, 2021, an Instagram user asks Quishawn HANNA’s Instagram

profile “shawn_broke2rich” for a Glock auto conversion device. Quishawn HANNA states

“Cant.” A video chat then began, which is not captured in the social media warrant return.




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       57.     Lastly, law enforcement observed a recent social media post concerning the

illegal possession of suspected automatic weapons by Quishawn HANNA. On or about the night

of May 21, 2021, the Teshae HANNA’s Instagram profile “_teshae” reposted a screenshot from

Quishawn                     HANNA’s                       Instagram                     profile

“shawn_broke2rich” to the publicly viewable story for Teshae HANNA. In this post by

Quishawn HANNA, a suspected Glock handgun is observed with an apparent Glock conversion

device, which converts the firearm from semi-automatic to fully-automatic. The caption for the

post reads: “I cant wait to switch a nigga up (emoji)”. Quishawn HANNA appears to refer to the

Glock conversion device when making this post to signify to other individuals he is armed with a

fully automatic firearm.




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       58.     Based on the evidence as set forth in this affidavit, case agents are aware that the

subjects and targets of this investigation have used different means of Instagram communication

(Instagram messenger) and private Instagram messaging on the Target Accounts to obtain,

transfer, and discuss the use and possession of firearms, including converting firearms from

semi-automatic to fully automatic machineguns.

       59.     I have been consistently live-tracking and reviewing social media accounts,

including the Target Accounts, for approximately five months. In that timeframe, I have

observed known Wild 100’s members consistently post, brag, and tag each other in firearms

activity, including federal firearms offenses, at least once a week. I have observed Teshae Hanna,

Quishawn Hanna, and Larry G. Hamilton discuss the sale and possession of firearms, including

firearms with conversion devices, through the Target Accounts. An Instagram location warrant




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would assist investigators in tracking, locating, and identifying locations where these items may

be kept and stored.

       60.     I also know these individuals use cellular phones to post on the Target Accounts,

based on the prior warrant returns, the perspective and location of photos posted, and live videos.

Quishawn Hanna, Teshae Hanna, and Larry G. Hamilton have displayed a transient lifestyle, in

that they do not maintain a regular residence in Milwaukee. The location information sought will

allow investigators to identify the locations where the targets are storing the firearms in question.

       61.     Based on the facts as set forth in this affidavit, there is probable cause to believe

that violations of 18 U.S.C. § 371 (conspiracy to violate the laws of the United States), 18 U.S.C.

§ 922(g)(1) (unlawful possession of a firearm by a prohibited person), and 18 U.S.C. § 922(o)

(unlawful possession of a machinegun) have been committed, are being committed, and will be

committed by Larry G. HAMILTON (DOB: 07/22/1991), Teshae HANNA (DOB: 09/23/1999),

and Quishawn HANNA (DOB: 10/10/2000) among others. There is also probable cause to

believe that the location information described in Attachment B will constitute evidence of these

criminal violations, and will lead to the identification of individuals who are engaged in the

commission of these offenses.

                       BACKGROUND CONCERNING INSTAGRAM

       62.     Instagram is a service owned by Facebook, a United States company and a

provider of an electronic communications service as defined by 18 U.S.C. §§ 3127(1) and 2510.

Specifically, Instagram is a free-access social networking service, accessible through its website

and its mobile application, that allows subscribers to acquire and use Instagram accounts, like the

target account(s) listed in Attachment A, through which users can share messages, multimedia,

and other information with other Instagram users and the general public.




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       63.     Facebook collects basic contact and personal identifying information from users

during the Instagram registration process. This information, which can later be changed by the

user, may include the user’s full name, birth date, gender, contact e-mail addresses, physical

address (including city, state, and zip code), telephone numbers, credit card or bank account

number, and other personal identifiers.      Facebook keeps records of changes made to this

information.

       64.     Facebook also collects and retains information about how each user accesses and

uses Instagram. This includes information about the Internet Protocol (“IP”) addresses used to

create and use an account, unique identifiers and other information about devices and web

browsers used to access an account, and session times and durations. Facebook records this

information in real-time and is capable of providing this information in real-time.

       65.     Each Instagram account is identified by a unique username chosen by the user.

Users can change their usernames whenever they choose but no two users can have the same

usernames at the same time. Instagram users can create multiple accounts and, if “added” to the

primary account, can switch between the associated accounts on a device without having to

repeatedly log-in and log-out.

       66.     Instagram users can also connect their Instagram and Facebook accounts to utilize

certain cross-platform features, and multiple Instagram accounts can be connected to a single

Facebook account. Instagram accounts can also be connected to certain third-party websites and

mobile apps for similar functionality. For example, an Instagram user can “tweet” an image

uploaded to Instagram to a connected Twitter account or post it to a connected Facebook

account, or transfer an image from Instagram to a connected image printing service. Facebook

maintains records of changed Instagram usernames, associated Instagram accounts, and previous




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and current connections with accounts on Facebook and third-party websites and mobile apps.

       67.     Instagram users can “follow” other users to receive updates about their posts and

to gain access that might otherwise be restricted by privacy settings (for example, users can

choose whether their posts are visible to anyone or only to their followers). Users can also

“block” other users from viewing their posts and searching for their account, “mute” users to

avoid seeing their posts, and “restrict” users to hide certain activity and prescreen their

comments. Instagram also allows users to create a “close friends list” for targeting certain

communications and activities to a subset of followers.

       68.     Users have several ways to search for friends and associates to follow on

Instagram, such as by allowing Facebook to access the contact lists on their devices to identify

which contacts are Instagram users. Facebook retains this contact data unless deleted by the user

and periodically syncs with the user’s devices to capture changes and additions. Users can

similarly allow Facebook to search an associated Facebook account for friends who are also

Instagram users. Users can also manually search for friends or associates.

       69.     Each Instagram user has a profile page where certain content they create and

share (“posts”) can be viewed either by the general public or only the user’s followers,

depending on privacy settings. Users can customize their profile by adding their name, a photo,

a short biography (“Bio”), and a website address.

       70.     One of Instagram’s primary features is the ability to create, edit, share, and

interact with photos and short videos. Users can upload photos or videos taken with or stored on

their devices, to which they can apply filters and other visual effects, add a caption, enter the

usernames of other users (“tag”), or add a location. These appear as posts on the user’s profile.

Users can remove posts from their profiles by deleting or archiving them. Archived posts can be




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reposted because, unlike deleted posts, they remain on Facebook’s servers.

       71.     Users can interact with posts by liking them, adding or replying to comments, or

sharing them within or outside of Instagram. Users receive notification when they are tagged in

a post by its creator or mentioned in a comment (users can “mention” others by adding their

username to a comment followed by “@”). An Instagram post created by one user may appear

on the profiles or feeds of other users depending on a number of factors, including privacy

settings and which users were tagged or mentioned.

       72.     An Instagram “story” is similar to a post but can be viewed by other users for only

24 hours. Stories are automatically saved to the creator’s “Stories Archive” and remain on

Facebook’s servers unless manually deleted. The usernames of those who viewed a story are

visible to the story’s creator until 48 hours after the story was posted.

       73.     Instagram allows users to broadcast live video from their profiles. Viewers can

like and add comments to the video while it is live, but the video and any user interactions are

removed from Instagram upon completion unless the creator chooses to send the video to IGTV,

Instagram’s long-form video app.

       74.     Instagram Direct, Instagram’s messaging service, allows users to send private

messages to select individuals or groups. These messages may include text, photos, videos,

posts, videos, profiles, and other information. Participants to a group conversation can name the

group and send invitations to others to join. Instagram users can send individual or group

messages with “disappearing” photos or videos that can only be viewed by recipients once or

twice, depending on settings. Senders can’t view their disappearing messages after they are sent

but do have access to each message’s status, which indicates whether it was delivered, opened, or

replayed, and if the recipient took a screenshot. Instagram Direct also enables users to video chat




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with each other directly or in groups.

        75.     Instagram offers services such as Instagram Checkout and Facebook Pay for users

to make purchases, donate money, and conduct other financial transactions within the Instagram

platform as well as on Facebook and other associated websites and apps. Instagram collects and

retains payment information, billing records, and transactional and other information when these

services are utilized.

        76.     Instagram has a search function which allows users to search for accounts by

username, user activity by location, and user activity by hashtag. Hashtags, which are topical

words or phrases preceded by a hash sign (#), can be added to posts to make them more easily

searchable and can be “followed” to generate related updates from Instagram. Facebook retains

records of a user’s search history and followed hashtags.

        77.     Facebook collects and retains location information relating to the use of an

Instagram account, including user-entered location tags and location information used by

Facebook to personalize and target advertisements.

        78.     Facebook uses information it gathers from its platforms and other sources about

the demographics, interests, actions, and connections of its users to select and personalize ads,

offers, and other sponsored content. Facebook maintains related records for Instagram users,

including information about their perceived ad topic preferences, interactions with ads, and

advertising identifiers. This data can provide insights into a user’s identity and activities, and it

can also reveal potential sources of additional evidence.

        79.     In some cases, Instagram users may communicate directly with Facebook about

issues relating to their accounts, such as technical problems, billing inquiries, or complaints from

other users. Social networking providers like Facebook typically retain records about such




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communications, including records of contacts between the user and the provider’s support

services, as well as records of any actions taken by the provider or user as a result of the

communications.

       80.     For each Instagram user, Facebook collects and retains the content and other

records described above, sometimes even after it is changed by the user (including usernames,

phone numbers, email addresses, full names, privacy settings, email addresses, and profile bios

and links).

       81.     In my training and experience, evidence of who was using Instagram and from

where, and evidence related to criminal activity of the kind described above, may be found in the

files and records described above. This evidence may establish the “who, what, why, when,

where, and how” of the criminal conduct under investigation, thus enabling the United States to

establish and prove each element or, alternatively, to exclude the innocent from further

suspicion.

       82.     For example, the stored communications and files connected to an Instagram

account may provide direct evidence of the offenses under investigation. Based on my training

and experience, instant messages, emails, voicemails, photos, and videos, including those from

the Target Accounts discussed above, are often created and used in furtherance of criminal

activity, including to communicate and facilitate the offenses under investigation.

       83.     In addition, the user’s account activity, logs, stored electronic communications,

and other data retained by Facebook can indicate who has used or controlled the account. This

“user attribution” evidence is analogous to the search for “indicia of occupancy” while executing

a search warrant at a residence. For example, subscriber information, email and messaging logs,

documents, and photos and videos (and the data associated with the foregoing, such as geo-




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location, date and time) may be evidence of who used or controlled the account at a relevant

time. As an example, because every device has unique hardware and software identifiers, and

because every device that connects to the Internet must use an IP address, IP address and device

identifier information can help to identify which computers or other devices were used to access

the account.   Such information also allows investigators to understand the geographic and

chronological context of access, use, and events relating to the crime under investigation.

       84.     Account activity may also provide relevant insight into the account owner’s state

of mind as it relates to the offenses under investigation. For example, information on the account

may indicate the owner’s motive and intent to commit a crime (e.g., information indicating a

plan to commit a crime), or consciousness of guilt (e.g., deleting account information in an effort

to conceal evidence from law enforcement).

       85.     Therefore, Facebook’s servers are likely to contain stored electronic

communications and information concerning subscribers and their use of Instagram. In my

training and experience, such information may constitute evidence of the crimes under

investigation including information that can be used to identify the account’s user or users.

                                         CONCLUSION

       86.     Based on the foregoing, I request that the Court issue the proposed search

warrant.

       87.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant

by serving the warrant on Facebook. Because the warrant will be served on Facebook, who will

then compile the requested records at a time convenient to it, reasonable cause exists to permit

the execution of the requested warrant at any time in the day or night.




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                                   ATTACHMENT A

                                 Property to Be Searched

      This warrant applies to information associated with the following Instagram accounts,

that is stored at premises owned, maintained, controlled, or operated by Facebook, Inc., a

company headquartered at 1601 Willow Road, Menlo Park, California:

   (1) Instagram account under the name “bigboomsologang”, Instagram ID # 32787502970,

      https://www.instagram.com/bigboomsologang/

   (2) Instagram account under the name        “_teshae”, Instagram ID # 25863395891;

      https://www.instagram.com/_teshae/

   (3) Instagram account under the name “shawn_broke2rich”; Instagram ID# 7068849355;

      https://www.instagram.com/shawn_broke2rich/.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

  I.   Information to be disclosed by Instagram, whose parent company is Facebook, Inc.

       (the “Provider”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook Inc., Facebook Inc. is required to disclose the following

information to the government, for the Accounts listed in Attachment A, all physical location

data collected by Facebook Inc. for the user of the account, including any data collected by

Facebook Inc.’s location services via the user’s mobile phone or other device, on a real-time or

near-real time basis. Facebook Inc. is required to provide any such data they collect, regardless

of the time of day.

 II.   Information to be seized by the government

       All data disclosed by the Provider pursuant to this warrant. This data shall be made

accessible by the Provider to the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)

on a continuous basis, day or night, and/or emailed to Special Agent Richard E. Connors at

Richard.ConnorsIII@atf.gov.

III.   Time for production by provider

       The Provider shall begin producing the information required by this warrant within 7

days of the date of service of the warrant.

IV.    Duration of production

       The Provider shall produce the information required by this attachment for a period of 30

days from the date of issuance of this warrant unless notified sooner to cease.




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